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IN THE UNITED STATES DISTRICT COU'RT §_ *

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AUTOZONE TEXAS, L.P.,
Plaintiff,

v. No. 04-2581 Ma/V
DANA CORPORATION, BRAKE PARTS,
INC., d/b/a AIMCO PRODUCTS;
INC., and KRIZMAN INTERNATIONAL,
INC. (formerly known as MCQUAY
NORRIS, INC.),

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Defendants.

 

ORDER 1) FINDING THAT PLAINTIFF HAS FAILED TO PLEAD FACTS
SUPPORTING SUBJECT MATTER JURISDICTION, 2) DENYING DEFENDANT'S
MOTION TO DISMISS AS MOOT, AND 3) ORDERING PLAINTIFF TO FILE AN

AMENDED COMPLAINT

 

This case arises from the alleged breach of an agreement to

deliver automobile parts. Before the court is the notion to
dismiss of Defendant Dana Corporation (“Dana”), filed October 7,
2004. Plaintiff AutoZone Texas, L.P. (“AutoZone”) filed a response

on November 22, 2004, to which Dana replied on December 6, 2004.
For the following reasons, the motion is DENIED as moot, and
Plaintiff is ORDERED to file an amended complaint.
I. Background
The complaint alleges the following facts. AutoZone is in the

business of selling automobile parts, and Dana, along with various
corporate subsidiaries, is in the business of manufacturing
automobile parts. (Am. Compl. HH 6-7.) Dana's subsidiaries have

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supplied automobile parts to AutoZone under various vendor

agreements. AutoZone submitted purchase orders to Dana’s
subsidiaries Brake Parts, Inc., d/b/a Aimco Products, Inc.
(“Aimco”) and McQuay-Norris, Inc. (now “Krizman”) for automobile

parts worth approximately $3 million. When AutoZone contractors
arrived at the respective distribution facilities of Aimco and
Krizman to take delivery of the parts, Aimco and Krizman refused to
release them, advising AutoZone that it must pay for the parts
before they were delivered.1 (Id. q 8.)

AutoZone alleges that the actions of Aimco and Krizman
violated the applicable vendor agreements, which provide for
shipment of the goods “collect,” with payment by Autozone within
120 days of shipment. (See Vendor Agreement at 3.)2 The disputed
agreements provide that “[a]cceptance of a purchase order may be
made only by shipment of the goods in accordance with that order

.” (Id. at 7.) The Defendants contend that no binding contract
had been formed as to the goods in question because those goods had
not yet been shipped.

II. Jurisdiction
AutoZone is a Delaware limited partnership with its principal

place of business in Tennessee. None of the partners of AutoZone

 

1 The complaint does not contain dates for the alleged conduct. The
context of the allegations suggests that the conduct occurred shortly before
the complaint was filed in July, 2004.

2 Krizman and Aimco each had a separate vendor agreement with Autozone.
Where the language of those agreements is substantially identical, the court
will refer to one “Vendor Agreement.”

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is organized or incorporated in Ohio, Illinois, or Virginia, nor
does any partner have its principal place of business in any of
those states. Dana is a Virginia corporation with its principal
place of business in the state of Ohio. Aimco is a Delaware
corporation with its principal place of business in Illinois and is
a wholly-owned subsidiary of Dana. Krizman is a Delaware
corporation with its principal place of business in Illinois;
Krizman is also a wholly-owned subsidiary of Dana.

A plaintiff seeking to bring a case in federal court has the
burden of establishing diversity jurisdiction. Fed. R. Civ. P.
8(a); Certain Interested Underwriters at Llovds, London, England.v.
Layne, 26 F.3d 39, 41 (Gth Cir. 1994). Federal courts are obliged
to act sua sponte whenever‘ a question. concerning jurisdiction
arises. See, e.g., St. Paul Mercurv Indem. Co. v. Red Cab Co., 303
U.S. 283, 287 n.lo (1938),- 13 c. wright, A. Miller & E. cooper,
Federal Practice and Procedure § 3522 at 70 (1984). Fed. R. Civ.
P. 12(h)(3) provides that a court shall dismiss an action
“[w]henever it appears by suggestion of the parties or otherwise
that the court lacks jurisdiction over the subject matter.”

“Complete diversity” between the parties is required for a
district court to exercise jurisdiction over the subject matter of
a dispute under 28 U.S.C. § 1332. _§§ Ruhrgas AG v. Marathon Oil
gg;, 526 U.S. 574, 580 n.2 (1999). This requirement means that

“diversity jurisdiction does not exist unless each defendant is a

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citizen of a different State from each plaintiff.” Qw§n_§guipm§nt
& Erection Co. v. Kroger, 437 U.S. 365, 373 (1978). For purposes
of diversity jurisdiction, corporations are deemed citizens of both
their state of incorporation and their principal place of business.
28 U.S.C. § 1332(0)(1); Safeco Ins. Co. of America v. Citv of White
Housel Tenn., 36 F.3d 540, 544 (Gth Cir. 1994). For a limited
partnership like AutoZone, however, “diversity jurisdiction in a
suit by or against the entity depends on the citizenship of all the
members,” whether they are general or limited partners. Carden v.
Arkoma Associates, 494 U.S. 185, 195-96 (1990)(internal quotations
omitted).

Thus, for the court to exercise diversity jurisdiction over
this lawsuit, AutoZone must show that none of its partners is a
citizen of Ohio, Illinois, Virginia, or Delaware. AutoZone has
alleged, without challenge from the Defendants, that none of its
partners is organized or has its principal place of business in
Ohio, Illinois, or Virginia. It has not, however, made such a
showing with respect to the state of Delaware. Without such a
showing by AutoZone, the court does not have jurisdiction over the
subject matter under 28 U.S.C. § 1332.
III. Conclusion

For the foregoing reasons, AutoZone is ORDERED to file an
amended complaint within eleven (ll) days of the entry of this

order alleging, if true, that none of its partners is a citizen of

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Delaware. Because the facts stated in the first amended complaint
do not show that the court has jurisdiction over the subject matter
of this suit, failure to file a second amended complaint will
result in dismissal. Because subject-matter jurisdiction has not
been established, Defendants' motion to dismiss is DENIED as moot.
When AutoZone has adequately pled that this court has jurisdiction
under 28 U.S.C. § 1332, the Defendants may re-file their motion to

dismiss.

So ORDERED thisizghiday of August 2005

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SAMUEL H. MAYS, JR
UNITED STATES DISTRICT JUDGE

 

 

UNITTED ST v ATES DISTR1CT COURT- WESTERN DISTRICT OF TENNESSEE

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Honorable Samuel Mays
US DISTRICT COURT

